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                     IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

              Plaintiff,                                     8:14CR155

    vs.
                                                               ORDER
JODI MURATELLA,

              Defendant.

           The court has been presented a Financial Affidavit (CJA Form 23) signed by
    the above-named defendant in support of a request for appointed counsel. After a
    review of the Financial Affidavit, I find that the above-named defendant is eligible
    for appointment of counsel pursuant to the Criminal Justice Act, 18 U.S.C. §3006A,
    and Amended Criminal Justice Act Plan for the District of Nebraska.

IT IS ORDERED:

           The Federal Public Defender for the District of Nebraska is appointed to
    represent the above named defendant in this matter. In the event that the Federal
    Public Defender accepts this appointment, the Federal Public Defender shall
    forthwith file an appearance in this matter. In the event the Federal Public
    Defender should decline this appointment for reason of conflict or on the basis of
    the Criminal Justice Act Plan, the Federal Public Defender shall forthwith provide
    the court with a draft appointment order (CJA Form 20) bearing the name and
    other identifying information of the CJA Panel attorney identified in accordance
    with the Criminal Justice Act Plan for this district.

           IT IS FURTHER ORDERED that the Clerk shall provide a copy of this order
    to the Federal Public Defender for the District of Nebraska.

          DATED this 19th day of September, 2014.

                                  BY THE COURT:

                                  s/ F.A. Gossett, III
                                  United States Magistrate Judge
